
In re Agee, Frank V.; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. D, No. 466-544; to the Court of Appeal, Fourth Circuit, No. 2009-K-0757.
Relator represents that the district court has failed to act timely on a motion for production of documents filed on or about December 7, 2007, April 4, 2008, June 8, 2008, and October 20, 2008. If relator’s representation is correct, the district court is ordered to consider and act on the motion. If relator’s representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
